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                  UNITED STATES DISTRICT COURT

                  SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION
UNITED STATES OF AMERICA  )
                          )
v.                        )                   Case No. CR415-187
                          )
ANTWAN LESHAWN COLEY and )
BRAYLON WILLIAMS )

                  REPORT AND RECOMMENDATION

      Defendants Antwan Coley and Braylon Williams move to dismiss

Counts One and Four of the Indictment on the ground that those counts

do not set forth “a plain, concise and definite written statement of the

essential facts constituting the offense charged,” as required by Rule

7(c)(1) of the Federal Rules of Criminal Procedure. Doc. 49 (Coley’s

motion); doc. 68 (Williams’ adoption of Coley’s motion). 1 They contend

that both Count One (charging a conspiracy to possess with intent to

distribute drugs in violation of 21 U.S.C. § 846) and Count Four

(charging possession with intent to distribute a quantity of MDMA in

violation of 21 U.S.C. § 841(a)(1)) contain “merely conclusory
1
  Coley was indicted only under Counts One and Four, so his motion asks the Court
to dismiss the entire case against him. See doc. 1 (Indictment). As Williams was
indicted only under Counts One and Two, id ., he in effects seeks to dismiss only part
of the case against him.
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allegations” that are “devoid of any factual statements supporting the

charge against [them].” Doc. 49 at 1-2. They reason that the sufficiency

of the Indictment should be gauged in light of the Supreme Court’s

landmark decisions in Bell Atlantic Corp. v. Twombly , 550 U.S. 554

(2007) and Ashcroft v. Iqbal , 556 U.S. 662 (2009), which announced a

new pleading standard for civil complaints. Those decisions made no

reference to Fed. R. Crim. P. 7(c) or the 80 years of Supreme Court

precedent recognizing that simplicity and succinctness is to be

encouraged in criminal pleadings. See United States v. Debrow , 346 U.S.

374, 376 (1953) (holding that an indictment tracking the wording of the

perjury statute, which embodied all the essential elements of the offense,

was sufficient to meet the criminal pleading standards under both Fed.

R. Crim. P. 7(c) and the Court’s pre-rule precedents); 2 Hagner v. United

States , 285 U.S. 427, 431-32 (1932). Defendants nonetheless argue that

Twombly and Iqbal effectively foreclose bare-bones pleading in criminal

cases and impose a new level of specificity for indictments.




2
 “The Federal Rules of Criminal Procedure were designed to eliminate technicalities
in criminal pleading and are to be construed to secure simplicity in procedure.”
Debrow , 346 U.S. at 376.


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I. ANALYSIS

     The Sixth Amendment right of an accused “to be informed of the

nature and cause of the accusation,” U.S. Const. amend. VI, is

implemented by Fed. R. Crim. P. 7(c), which requires that an indictment

set forth “a plain, concise and definite written statement of the essential

facts constituting the offense charged.” Under long-established

precedent, an indictment is sufficient under the Constitution and Rule

7(c) if it (1) sets forth the elements of the charged offense in a manner

which thoroughly informs the defendant of the charge against which he

must defend and (2) enables him to plead an acquittal or conviction in

bar of future prosecutions for the same offense.       Hamling v. United

States , 418 U.S. 87, 117 (1974); United States v. Critzer , 951 F.2d 306,

307 (11th Cir. 1992); United States v. McMath , 2013 WL 5799004 at * 4

(S.D. Ga. Oct. 16, 2013). An indictment is generally sufficient if it simply

parrots the wording of the statute itself, provided the statutory language

sets forth all the elements of the offense.    Hamling , 418 U.S. at 117;

United States v. Ramos , 666 F.2d 469, 474 (11th Cir. 1982); see also




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United States v. Resendiz-Ponce , 549 U.S. 102, 109 (2007). 3 Ultimately,

“‘the appropriate test is not whether the indictment might have been

drafted with more clarity, but whether it conforms to minimal

constitutional standards.’”        United States v. McGarity , 669 F.3d 1218,

1235-36 (11th Cir. 2012) (quoting United States v. Varkonyi , 645 F.2d

453, 456 (5th Cir. 1981)). Therefore, where an indictment quotes the

statutory language and sets forth the date and place of the charged

criminal activity, it need not go further and detail the factual proof that

will be relied upon to support the charges. United States v. Crippen , 579

F.2d 340, 342 (5th Cir. 1978); accord United States v. Powell , 767 F.3d

1026, 1030 (10th Cir. 2014).

       In this case, both Counts One and Four satisfy the traditional

pleading standard required of criminal indictments. Count One alleges

that during a period “at least” from December 2014 to the filing of the

indictment, in Chatham County, defendants Coley and Williams

conspired with each other (and others) to possess with intent to

3
  Indeed, “an exact recitation of an element of the charged crime is not required,
provided the indictment as a whole ‘fairly imports’ the element.” United States v.
Harms , 442 F.3d 367, 372 (5th Cir. 2006); United States v. Ramsey, 406 F.3d 426, 430
(7th Cir. 2005) (the failure to include all elements of the offense “is not fatal so long
as the absent elements can be deduced from the language that is actually included in
the charging document.”).



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distribute quantities of cocaine, marijuana, and MDMA. Doc. 1 at 2.

Count Four alleges that on January 10, 2015, in Chatham County,

defendant Coley, aided and abetted by others, intentionally possessed

with intent to distribute MDMA. Doc. 1 at 5. “An indictment charging a

conspiracy under 21 U.S.C. § 846 need not be as specific as an indictment

charging a substantive count. . . . It is sufficient if it alleges a conspiracy

to distribute drugs, the time which the conspiracy was operative, and the

statute allegedly violated.”       United States v. Pease , 240 F.3d 988, 943

(11th Cir. 2001). 4 By tracking the statutory language, and specifying the

time and place of the charged conspiracy, Count One is sufficient to meet

criminal pleading requirements. Count Four is clearly sufficient as well,

for it sets forth the exact time and place that Coley and others “did

knowingly and intentionally possess with intent to distribute a quantity

of MDMA.” See United States v. Green , 296 F. Appx 811 (11th Cir. Oct.

17, 2008) (“the elements of a § 841(a)(1) offense are (1) knowing or

intentional (2) possession of a controlled substance (3) with intent to

distribute that substance.”).

4
 In charging a § 846 conspiracy, the government is not required to allege or prove
any specific overt act in furtherance of the conspiracy. United States v. Shabani , 513
U.S. 10, 15 (1994); United States v. Benefield , 874 F.2d 1503, 1506 (11th Cir. 1989).



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      Defendants argue that the traditional test for an indictment’s

sufficiency has been supplanted by the Supreme Court’s landmark

decisions in Twombly and Iqbal . Again, those cases address the pleading

standard for civil complaints under Fed. R. Civ. P. 8(a)(2). That rule

requires a plaintiff to set forth a claim “ showing that the pleader is

entitled to relief.”   Id . (emphasis added). That language, the Court

reasoned, requires that a complaint’s legal conclusions be supported by

factual allegations that create “the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678

(citing Twombly , 540 U.S. at 556).

      Nowhere in Twombly or Iqbal did the Supreme Court suggest that

this new “plausibility standard” for civil complaints has any application

to criminal indictments. Nor has any subsequent decision by any court

held that Twombly and Iqbal should be extended to criminal pleadings.

Indeed, the only court to even consider the question has held that the

civil pleading standards announced in Twombly and Iqbal do not apply in

the criminal context. United States v. Vaughn , 722 F.3d 918, 928-29 (7th

Cir. 2013). Like the defendants here, the defendant in Vaughn was

charged with a drug conspiracy in violation of 21 U.S.C. § 846. The



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abbreviated language of that indictment closely resembles the language

set forth in Count One of the present Indictment.                 Id . at 925-26. The

Vaughn court held that the indictment there fulfilled the requirements

of Fed. R. Crim. P. 7(c)(1) and the Constitution because it contained

“each of the required elements of § 846 and was sufficient to notify

[defendant] of what the government intended to prove.” 722 F.3d at 926.

“Although it [did] not allege facts addressing any particular drug

transactions, [Seventh Circuit caselaw did] not require such specificity.”

Id .5

         Defendants nevertheless ask this Court to hold that Twombly and

Iqbal, while never mentioning criminal practice, meant to overturn the

entire body of Supreme Court caselaw addressing the sufficiency of

criminal indictments. If the Supreme Court had intended such a radical

restructuring of criminal practice, it presumably would have said so.

Because only the Supreme Court has “‘the prerogative of overruling its

own decisions,’” the lower courts are not at liberty to stray from the

criminal pleading standard followed by that Court for over 80 years.
5
 The Vaughn Court noted that an indictment charging an offense under § 846 is
sufficient “‘if it sets forth the existence of a drug conspiracy, the operative time of the
conspiracy, and statute violated.’” 722 F.2d at 926. That precisely states the
Eleventh Circuit standard. Pease, 240 F.3d at 943.



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Vaughn , 722 F.3d at 926 (quoting Agostini v. Felton , 52 U.S. 203, 237

(1997)).

      Defendants’ argument to the contrary elides the difference between

civil and criminal litigation. A criminal defendant enjoys special

protections nowhere found in the civil law. For starters, the government

cannot even bring a felony indictment until it first convinces an

independent body of citizens -- a federal grand jury -- that there is

evidentiary support (probable cause) for each element of the charged

offense. U.S. Const. amend. V; Fed. R. Crim. P. 7(a)(1); Branzburg v.

Hayes , 408 U.S. 665, 686-87 (1972). This procedure, which has no

parallel in civil practice, in a way establishes its own plausibility

standard, for it requires a determination that the charge “‘is founded

upon reason.’” Id . at n. 23. But contrary to defendants’ assertion, Fed.

R. Crim. P. 7(c)(1) does not require the government to demonstrate in

the indictment itself that it is entitled to a verdict in its favor. A civil

plaintiff, on the other hand, must make “a ‘showing,’ rather than a

blanket assertion, of entitlement to relief,” Twombly , 550 U.S. at 556 n.

3, before he is granted the power to “unlock the doors” to costly and

protracted discovery. Iqbal , 556 U.S. at 678-79. The filing of a criminal



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indictment, however, does not provide the government with the broad

discovery powers granted by the federal civil rules. For example, not

only is a criminal defendant not subject to deposition, he has an absolute

constitutional right to remain silent, and no inference of guilt may arise

if he exercises that right.   Carter v. Kentucky , 450 U.S. 288, 303-05

(1981); Griffin v. California , 380 U.S. 609, 612-15 (1965). Moreover, the

limited discovery rights granted by the federal criminal rules belong

primarily to the defendant, not to the government. See Fed. R. Crim. P.

16. And in a criminal case, the government must prove the defendant’s

guilt beyond a reasonable doubt, a far heavier burden of proof than is

required in most civil cases. In re Winship , 397 U.S. 358, 364 (1970).

The point is, there are very different pleading and proof standards in

civil and criminal cases, and there are obvious and sound reasons for

these differences.

II. CONCLUSION

      “No court has taken [the] approach” advocated by the defendants

here, i.e. , that civil pleading standards should be imported into federal

criminal law. Vaughn , 722 F.3d at 926. Because the indictment in this

case contains each of essential elements of the charged offenses and



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notifies the defendants of what the government intends to prove, it easily

survives defendants’ motions to dismiss. Those motions, docs. 49 & 68,

should therefore be denied.

     SO REPORTED AND RECOMMENDED , this 23rd day of

February, 2016.



                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




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